UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JUDITH RAANAN, ET AL.,
24-cv-697 (JGK)
Plaintiffs,
ORDER
- against -

BINANCE HOLDINGS LIMITED, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

The plaintiffs may file an amended complaint by May 17,
2024. The defendants may move or answer by June 14, 2024. The
plaintiffs may respond by July 12, 2024. And the defendants may
reply by August 2, 2024.

SO ORDERED.

Dated: New York, New York a

April 15, 2024 ( ML Mocbax
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i om G@. Koeltl
United States District Judge

